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      IT IS ORDERED as set forth below:
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    Date: April 1, 2019
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                                                 Jeffery W. Cavender
                                            U.S. Bankruptcy Court Judge

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                                               United States Bankruptcy Court
                                               Northern District of Georgia
In re:                                                                                                     Case No. 18-52363-jwc
Millard Courtney Farmer, Jr.                                                                               Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113E-9                  User: ngs1                         Page 1 of 1                          Date Rcvd: Apr 01, 2019
                                      Form ID: pdf428                    Total Noticed: 2


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 03, 2019.
db             +Millard Courtney Farmer, Jr.,   1196 Dekalb Ave,   Atlanta, GA 30307-2079

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
ust            +E-mail/Text: ustpregion21.at.ecf@usdoj.gov Apr 01 2019 22:29:59
                 Office of the United States Trustee,   362 Richard Russell Building,   75 Ted Turner Drive, SW,
                 Atlanta, GA 30303-3315
                                                                                            TOTAL: 1

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 03, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 1, 2019 at the address(es) listed below:
              Colin Michael Bernardino   on behalf of Creditor John H. Murphy
               CBernardino@Kilpatricktownsend.com,
               sagreen@kilpatricktownsend.com;mwilliams@kilpatricktownsend.com
              Julie M. Anania   on behalf of Trustee Nancy J. Whaley ECF@njwtrustee.com
              Nancy J. Whaley   ecf@njwtrustee.com
              Ralph Goldberg    on behalf of Debtor Millard Courtney Farmer, Jr. attorneygoldberg@hotmail.com,
               goldbergandcuvillier@gmail.com
                                                                                            TOTAL: 4
